    Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 1 of 44 PageID 1




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

JONATHAN DIAMOND, on behalf
of himself and all others similarly DEMAND FOR JURY TRIAL
situated,
                Plaintiff,          CLASS ACTION
           v.
ROBINHOOD FINANCIAL, LLC, Case No.
ROBINHOOD SECURITIES, LLC,
ROBINHOOD MARKETS, INC. and
JOHN DOES 1-10,

                        Defendant.


                              CLASS ACTION COMPLAINT

         Plaintiff, on behalf of himself and all others similarly situated, hereby bring

this class action against Defendants Robinhood Financial, LLC (“Robinhood

Financial”), Robinhood Securities, LLC (“Robinhood Securities”), Robinhood

Markets, Inc. (“Robinhood Markets”) (collectively, “Robinhood” or “Robinhood

Defendants”), and Defendants John Does 1-10 (“John Doe Defendants”) based upon

information belief, and investigation of counsel, and hereby allege as follows:

                                      INTRODUCTION

         1.      Robinhood declares front and center on its website, “We’re on a

mission to democratize finance for all.”1 “At Robinhood, we believe the financial



1
    https://robinhood.com/us/en/about-us/
    Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 2 of 44 PageID 2




system should be built to work for everyone. That’s why we create products that let

you start investing at your own pace, own your own terms.”2 This cannot be farther

from the truth. On January 28, 2021, Robinhood took action that was not only illegal,

but which also created the most substantial detriment to small investors in the history

of the digital investing world. Defendants manipulated the stock market through (a)

picking and choosing which stocks its users could buy and sell, (b) limiting users to

only selling certain stocks, with no opportunity to buy declining share prices, and

(c) selling its users stocks without their authority. This simple class action seeks

damages for the losses of Robinhood’s users and seeks to enjoin Robinhood’s

practices.

         2.      Robinhood is an online brokerage firm founded in 2013 that states it is

a “pioneer in commission-free investing.” Robinhood’s customers can place

securities trades through the firm’s website and by using a web-based application

(or “app”). Robinhood picks and chooses which securities its customers can buy and

sell, including option contracts, and engage in trading on margin. The company

possesses no storefront offices and operates entirely online. Robinhood is a Financial

Industry Regulatory Authority (“FINRA”) - regulated broker-dealer.

         3.      On January 28, 2021, Robinhood, halted the purchase of stocks for 13

publicly traded companies including GameStop, Blackberry, Nokia, AMC, and


2
    https://robinhood.com/us/en/about-us/
                                             2
    Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 3 of 44 PageID 3




others. This unilateral move was done so in a concerted effort to de-platform and

deprive individual investors of the ability to control their own investments for the

benefit of itself and others.

         4.   This entire sequence of events started when an investment management

fund, “Melvin Capital Management” (“Melvin” who held over $12.5 Billion in

assets placed an aggressive short sell on the company GameStop. To contradict this

decision, the heavily followed Reddit page “r/wallstreetbets” and their

administrators advocated that their followers purchase GameStop stock using the

broker Robinhood. The response of the individual investors motivated by this and

other factors was so effective that it drove the stock price to over 400% of its

previous value. As a result, Melvin lost billions on their return and Robinhood chose

to block users from buying GameStop stock but still allowed liquidation.

         5.   Melvin has large investments from Citadel, LLC which, according to a

Bloomberg Report, gives Robinhood roughly 40% of their revenue.3 Given Citadel’s

financial relationship with Robinhood, the actions taken were motivated by anti-

competitive reasons, not for concerns of volatility claimed by Robinhood.

Robinhood’s behavior was nothing more than a blatant conflict of interest and

obvious monopolistic activity.



3
  https://www.bloomberg.com/news/articles/2018-10-15/robinhood-gets-almost-half-its-revenue-
in-controversial-bargain-with-high-speed-traders
                                             3
    Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 4 of 44 PageID 4




         6.   United States Congressional leaders from both major parties criticized

Robinhood for its actions. Lawmakers of the House Financial Services Committee

and the Senate Banking Committee publicly declared that they will hold hearings as

a result of Robinhood’s actions. It is clear something is wrong when both

Representative Alexandria Ocasio-Cortez and Donald Trump Jr. agree on

something- that being the collusions to protect Wall Street profiteers.4

         7.   United States Rep. Ro Khanna summed it up perfectly, “While retail

trading in some cases, like on Robinhood, blocked the purchasing of GameStop,

hedge funds were still allowed to trade the stock.”5 “Instead of investing in future

technologies to help America win the 21st Century, Wall Street poured billions into

shorting this stock to crush this company and put workers out of business.”6

         8.   United States Representative, Rashida Tlaid, a member of the Financial

Services Committee, went further calling Robinhood’s move “beyond absurd” and

demanding a hearing on “Robinhood’s market manipulation.”7 “They’re blocking

the ability to trade to protect Wall Street hedge funds, stealing millions of dollars

from their users to protect people who’ve used the stock market as a casino for


4
  https://www.tweaktown.com/news/77592/donald-trump-jr-and-aoc-agree-on-one-thing-
robinhood-is-screwed/index.html
5
  https://www.cnbc.com/2021/01/28/gamestop-cruz-ocasio-cortez-blast-robinhood-over-trade-
freeze.html
6
  https://www.cnbc.com/2021/01/28/gamestop-cruz-ocasio-cortez-blast-robinhood-over-trade-
freeze.html
7
  https://www.cnbc.com/2021/01/28/gamestop-cruz-ocasio-cortez-blast-robinhood-over-trade-
freeze.html
                                             4
    Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 5 of 44 PageID 5




decades.”8

         9.    Essentially, Wall Street hedge funds got beat in their own game by a

group of internet message board day traders, and suffered significant losses. For

example, Melvin need Citadel and Point 72 to inject almost $3 billion into the ailing

hedge fund.9 Steve Cohen’s hedge fund Point72 lost nearly 15% this year as a result

of GameStop.10 Citron Research’s Andrew Left closed most of the firm’s short

position when GameStop traded at $90 at a loss of 100%.11

         10.   Hedge funds were permitted to make bets against GameStop, and other

companies, to fail (short-selling), but got upset when consumers began purchasing

GameStop shares and other stocks that were heavily short sold.

         11.   Suspiciously, when the price of GameStop, AMC, American Airlines,

Nokia, and other shares began to rise on the morning of January 28, 2021, Robinhood

users were not permitted to purchase any more shares of GameStop, AMC, or Nokia.

For example, GameStop was around $469 a share at 10:00 a.m. and as a result of

Robinhood prohibiting the buying of any GameStop shares, the price plummeted to

$112 by 11:20 a.m. because the only trade Robinhood permitted its users to make


8
  https://www.cnbc.com/2021/01/28/gamestop-cruz-ocasio-cortez-blast-robinhood-over-trade-
freeze.html
9
  https://markets.businessinsider.com/news/stocks/hedge-funds-torched-wall-street-bets-
gamestop-short-squeeze-reddit-2021-1-1030016596
10
   https://markets.businessinsider.com/news/stocks/hedge-funds-torched-wall-street-bets-
gamestop-short-squeeze-reddit-2021-1-1030016596
11
   https://markets.businessinsider.com/news/stocks/hedge-funds-torched-wall-street-bets-
gamestop-short-squeeze-reddit-2021-1-1030016596
                                             5
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 6 of 44 PageID 6




was to sell GameStop, which caused a panic and a mass selloff driving the price into

the ground. This is what the Hedge Funds wanted. When everyone is only selling,

the price cannot go up because no one can buy the shares.

      12.    Robinhood’s users lost hundreds of millions of dollars as a result of

Robinhood’s stock market manipulation.

      13.    By virtue of this class action, Plaintiff seeks to enjoin Robinhood’s

anticompetitive, unlawful, and unfair practices and to require Robinhood to

compensate Plaintiff and members of the Class for the losses they have incurred.

Plaintiff also seeks attorneys’ fees, costs, and expenses.

                                         PARTIES

      14.    Plaintiff Jonathan Diamond is an individual, over 18 years of age, who

is a Robinhood user. At all times relevant herein, Plaintiff was, and currently is, a

resident and citizen of the State of California.

      15.    Defendant Robinhood Financial is a Delaware corporation with its

principal place of busines at 85 Willow Road, Menlo Park, California 94025. It is a

wholly-owned subsidiary of Robinhood Markets. Robinhood Financial is registered

as a broker-dealer with the U.S. Securities & Exchange Commission (“SEC”).

Defendant Robinhood Financial acts as an introducing broker and has a clearing

arrangement with its affiliate Defendant Robinhood Securities.

      16.    Defendant Robinhood Securities is a Delaware corporation with its


                                           6
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 7 of 44 PageID 7




principal place of business at 500 Colonial Center Parkway, Suite 100, Lake Mary,

Florida 32746. It is a wholly-owned subsidiary of Defendant Robinhood Markets.

      17.    Defendant Robinhood Markets is a Delaware corporation with its

principal place of business at 85 Willow Road, Menlo Park, California 94025.

Defendant Robinhood Markets is the corporate parent of Defendants Robinhood

Financial and Robinhood Securities.

      18.    Defendants John Does 1-10 are hedge funds who possess business

relationships with Robinhood.

      19.    Plaintiff, the members of the Class, John Does 1-10, and Robinhood are

a “person” or “persons,” within the meaning of Section 17201 of the California

Unfair Competition Law (“UCL”).

                             JURISDICTION AND VENUE

      20.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C §1332(d), because the amount in controversy for the Classes

exceeds $5,000,000 exclusive of interest and costs, there are more than 100 putative

Class members defined below and minimal diversity exists because the majority of

putative Class members are citizens of a state different than Defendants.

      21.    Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this

action because a substantial part of the events, omissions, and acts giving rise to the

claims herein occurred in this District and Robinhood Securities principal place of


                                           7
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 8 of 44 PageID 8




business is in this District. Finally, venue is appropriate in this District pursuant to

28 USC § 1391(b)(2) because Robinhood Securities is headquartered in Lake Mary

and a substantial part of the acts and omissions that gave rise to this Complaint

occurred or emanated from this District.

       22.    This Court has personal jurisdiction over Robinhood because it is

headquartered in and authorized to do business and does conduct business in Florida,

and because it has sufficient minimum contacts with this state and/or sufficiently

avails itself of the markets of this state through its business within this state to render

the exercise of jurisdiction by this Court permissible.

                                FACTUAL ALLEGATIONS

       A.     Robinhood’s Business Model

       23.    Robinhood was founded in 2013 by Vlad Tenev and Baiju Bhatt.

       24.    Robinhood offers people the ability to invest in stocks, ETFs, and

options through an electronic trading platform, both online and through an app.

       25.    Robinhood competes with other online and traditional brokerages by

not charging trading fees. At the time of its founding, most brokerage firms charged

about $10 or more to make a trade. Robinhood also competes with traditional

financial institutions by offering more user friendly digital services, which has made

Robinhood very popular, especially with younger traders. In July of 2020,

Robinhood said it had over 13 million users on its platform. In August 2020, after


                                            8
 Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 9 of 44 PageID 9




raising $200 million in Series G funding, Robinhood was valued at $11.2 billion.12

       26.     Robinhood’s original product was commission-free trades of stocks and

exchange-traded funds. As Robinhood grew, it added more risky and complex

products—like options and margin trading. Those products, combined with

Robinhood's game-like interface, have been a hit with millennials, and its typical

customer is 31 years old on average.13

       27.     Robinhood’s trading app is designed to be easy to use. For example, on

the Robinhood home screen, there is a list of popular stocks that users can “trade”

with just the touch of the screen, which skips many of the steps that other firms

require.

       28.     Robinhood also includes many features that make investing appear

more like a game. New members are given a free share of stock when they join

Robinhood—to reveal the stock users scratch-off images that look like a lottery

ticket. Once the stock is revealed, confetti appears to fall from the top of the screen.

       29.     One of Robinhood’s popular features is the ability for users to engage

in options trading. Robinhood describes its options trading as “quick,



12
   Kate Rooney, Robinhood snags third mega-investment of the year, boosting valuation to $11.2
billion, CNBC (August 17, 2020) https://www.cnbc.com/2020/08/17/robinhood-
announcesanother-mega-round-valuation-soars-to-11point2b.html
13
   Graham Rapier, Robinhood had to install protective glass after frustrated traders kept showing
up at its office, Business Insider (July 10, 2020)
https://www.businessinsider.com/robinhoodoffice-installed-bulletproof-glass-after-frustrated-
traders-visited-report-2020-7
                                                9
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 10 of 44 PageID 10




straightforward & free.” To start trading options, users respond to multiple-choice

questions. “Beginners are legally barred from trading options, but those who click

that they have no investing experience are coached by the app on how to change the

answer to ‘not much’ experience. Then people can immediately begin option

trading.”

      30.    Robinhood’s users trade more often than average, faster, and with more

risk than traders who use other platforms. According to an analysis of new filings

from nine brokerage firms by the research firm Alphacution for The New York

Times, in the first quarter of 2020, Robinhood users traded nine times as many shares

as E-Trade customers and 40 times as many shares as Charles Schwab customers.14

      B.     Robinhood’s Services

      31.    When a user opens an account with Robinhood, they enter into a

Customer Agreement with “Robinhood Financial LLC, Robinhood Securities, LLC

and their agents and assigns.” In 2020, Robinhood revised the Customer Agreement

on February 5, April 28, June 22, and December 30.

      32.    Robinhood’s app and website does not provide reasonable notice to the

terms and conditions governing the relationship between Robinhood and its




14
   Nathaniel Popper, Robinhood Has Lured Young Traders, Sometimes With Devastating
Results, The New York Times (July 8, 2020)
https://www.nytimes.com/2020/07/08/technology/robinhood-
riskytrading.html?searchResultPosition=2
                                           10
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 11 of 44 PageID 11




customers.

      33.    All of Robinhood’s customers register on the app or Robinhood’s

website on the internet. Reasonable Robinhood customers may not understand that

by simply signing up for an app or website for future securities trading that they have

entered into a contractual relationship.

      34.    In sum, the interface on Robinhood’s app and website did not

reasonably focus Robinhood’s customers on the terms and conditions located in the

Customer Service Agreement, and customers could not reasonably have assented to

those terms and conditions, particularly given the nature of the online transaction

and the broad scope of the terms and conditions.

      35.    Based upon information and belief, the notice of terms and conditions

in Robinhood’s Customer Service Agreement did not require the user to scroll

through the conditions or even select them. The user could fully register for

Robinhood’s service without ever clinking the link to the terms and conditions.

      36.    Robinhood is aware, most of those registering via mobile apps do not

read the terms of use or terms of service included with the applications. Yet, the

design of Robinhood’s app and online registration enables, if not encourages, users

to ignore the terms and conditions.

      37.    It is not obvious that signing up via an app or Robinhood’s website for

securities trading services that it would be accompanied by the type of extensive


                                           11
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 12 of 44 PageID 12




terms and conditions present in Robinhood’s Customer Agreement, which

constantly changes. Customers never assented to each new term added in each

revised Customer Agreement.

      38.    In sum, a Robinhood customer may reasonably believe he or she is

simply signing up for a service without understanding that he or she is entering into

a significant contractual relationship governed by wide-ranging terms of use. Instead

of requiring its users to review those terms and conditions as it appears to do with

its drivers, Robinhood has designed an interface that allows the registration to be

completed without reviewing or even acknowledging the terms and conditions.

      C.     How Robinhood Makes Money

      39.    Robinhood offers a paid subscription product called “Gold.” Users who

purchase Gold memberships pay $5 a month to have faster deposit processing,

access to professional research, the ability to see additional information about stock

prices, and the ability to invest on margin.

      40.    Robinhood also makes money from “payment for order flow” fees. In

fact, payment for order flow fees are reportedly Robinhood’s primary revenue

stream—greatly exceeding what it earns from Robinhood Gold, or from the interest

it makes on cash balances in customer accounts, which is another source of

Robinhood’s revenue.

      41.    Payment for order flow fees are paid to Robinhood from electronic


                                          12
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 13 of 44 PageID 13




market makers for passing on customer orders. For example, if a Robinhood users

purchase a share of Apple - through their account, Robinhood sends that order to a

large market maker like Citadel Securities and receives a few pennies in return—

i.e., the “payment for order flow” fees. Citadel, meanwhile completes the trade and

makes a few pennies itself.15

       42.    For Robinhood, those fees add up. According to a recent SEC filing,

Citadel Securities and several other firms paid Robinhood nearly $100 million in the

first quarter of 2020.16 In the second quarter of 2020, Robinhood made $180 million

off trades, roughly double from the prior quarter.17

       D.     Robinhood’s Marketing to Customers

       43.    Robinhood’s website markets, “our 6 commitments to you. We want

you to feel confident and secure on Robinhood, so these are the commitments you

can always expect from us. No commission fees, extra protection, high security

standards, dedicated support, transparency, and quality execution.”18




15
   Jeff John Roberts, David Z. Morris, Robinhood makes millions selling your stock trades … is
that so wrong?, Fortune (July 8, 2020), https://fortune.com/2020/07/08/robinhood-
makesmillions-selling-your-stock-trades-is-that-so-wrong/ (
16
   Jeff John Roberts, David Z. Morris, Robinhood makes millions selling your stock trades … is
that so wrong?, Fortune (July 8, 2020), https://fortune.com/2020/07/08/robinhood-
makesmillions-selling-your-stock-trades-is-that-so-wrong/
17
   Kate Rooney, Maggie Fitzgerald, Here’s how Robinhood is raking in record cash on customer
trades — despite making it free, CNBC (August 13, 2020),
https://www.cnbc.com/2020/08/13/how-robinhood-makes-money-on-customer-tradesdespite-
making-it-free.html?__source=iosappshare%7Ccom.apple.UIKit.activity.Mail
18
   https://robinhood.com/us/en/our-commitments/
                                              13
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 14 of 44 PageID 14




       44.    Robinhood’s website further boasts, “we believe that everyone should

have equal access to financial tools. Regardless of how much money you intend to

invest, you will not be charged account minimums or commissions to buy or sell

stocks, ETFs, or options on Robinhood.”19

       45.    Robinhood also warrants that, “We will cover 100% of direct losses due

to unauthorized activity in your accounts.”20 And that Robinhood possesses “a

transparent business model” because “we primarily make money from rebates from

market makers, Robinhood Gold, stock loan, income from cash, and our Cash

Management brokerage feature.21

       46.    Robinhood also declares that, “We’re committed to seeking a quality

execution for every securities order. We perform regular and rigorous reviews of the

execution quality you receive from our securities market makers, including the

execution price, speed, and price improvement. While there is no specific formula

to determine execution quality, we don’t consider our own revenue when selecting

which of our partners will execute your orders. The execution quality of your

securities orders is regularly reviewed and analyzed by our Best Execution

Committee, and we use a widely-used independent provider of best execution

analytics software to review our execution quality. To ensure we have a fair system,


19
   https://robinhood.com/us/en/our-commitments/
20
   https://robinhood.com/us/en/our-commitments/
21
   https://robinhood.com/us/en/our-commitments/
                                             14
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 15 of 44 PageID 15




all market makers we partner with pay us rebates at the same rate.”22

       47.    In further marketing efforts, Robinhood boasts, “Every investor has a

story to tell. See how Robinhood has changed the way people see their finances—

and themselves.”23

       48.    For example, Robinhood cites “Charles, 32 ‘I’m able to make financial

decisions that grow my money and to help me buy a home.’” “Jenna, 22, ‘In a male-

dominated world, it’s really important for women to invest. I feel good when I can

chime in—it gives me a confidence boost.” “Kathyria, 33, ‘For once, I feel like I’m

in control of my earnings—and I’m in control of the decisions I make.”24

       E.     Timeline of Events

       49.    On January 14, 2021, the battle between GameStop short sellers and

WSB users begins in earnest, as purchases by both sides send GameStop stock

surging by 27 percent in one day. CNBC's Jim Cramer credits "open plotting" by

Reddit users and is awed: "It's incredible to watch. I think they're succeeding beyond

their wildest dreams."25

       50.    January 19, 2021, Citron Research, a short-selling investment

firm, tweets that GameStop buyers are "the suckers at this poker game," a comment



22
   https://robinhood.com/us/en/our-commitments/
23
   https://robinhood.com/us/en/our-customers/
24
   https://robinhood.com/us/en/our-customers/
25
   https://www.nbcnews.com/tech/tech-news/robinhood-reddit-timeline-two-apps-tormenting-
wall-street-n1256080
                                            15
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 16 of 44 PageID 16




that only seems to encourage WSB users even more. Citron later calls Reddit users

"an angry mob" and vows to quit commenting publicly about GameStop.

       51.     January 22, 2021, GameStop trading becomes so volatile that it is halted

at least four times; its stock surges by 51 percent in a day and closes at a then-record.

WallStreetsBets users celebrate and vow more, with one user writing, "GUYS

PLEASE HOLD< I GOT TO PAY OF MY STUDENT LOANNS."26

       52.     January 25, 2021, GameStop shares surge again, and the short-squeeze

fight enters another week.

       53.     January 28, 2021, GameStop, AMC, BlackBerry, and Nokia shares

soar. Robinhood prevents its customers from purchasing these stocks plus others, for

a total of 13 stocks that Robinhood only permitted its users to sell, and not buy.

       54.     When Robinhood’s customers were only faced with the option to sell,

the prices of GameStop, AMC, BlackBerry, Nokia, and others plummeted.

       F.      Melvin Capital Management’s Short Position in GameStop

       55.     Melvin Capital Management is a hedge fund. It took the gamble to bet

heavily against GameStop. In the first three weeks of January 2021, it lost close to

30% of its net worth.

       56.     To bail out Melvin Capital Management, prominent hedge funds


26
  GameStop trading becomes so volatile that it is halted at least four times; its stock surges by
51 percent in a day and closes at a then-record. WSB users celebrate and vow more, with one
user writing, "GUYS PLEASE HOLD< I GOT TO PAY OF MY STUDENT LOANNS."
                                                16
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 17 of 44 PageID 17




Citadel and Point72 Asset Management extended a $2.75 billion lifeline to Melvin

Capital Management.27

         57.    Upon information and belief, Citadel affiliates account for nearly 40%

of Robinhood’s revenue.

         G.     Plaintiff’s January 28, 2021 Robinhood Buying Experience

         58.    Plaintiff entered into a contract with Robinhood for securities trading.

Exhibit A. The contract did not authorize Robinhood to pick and choose which

stocks Plaintiff can purchase without notice, the contract also did not authorize

Robinhood to limit its users to only sell stocks they own, but not purchase more

shares. California law governs Robinhood’s and Plaintiff’s relationship under the

contract.

         59.    On January 28, 2021, Plaintiff placed a market order to buy 18.348623

shares of AMC stock and 4.190065 shares of BlackBerry Ltd (“BB”) stock around

6:56 a.m. EST.

         60.    On January 28, 2021, at 9:21 a.m. EST, Plaintiff received an e-mail

message from Robinhood declaring that Robinhood was unilaterally cancelling his

market order of $400.00 of AMC stock and $102.07 of Blackberry.

         61.    Plaintiff never authorized Robinhood to cancel his order of BB and

AMC stock.


27
     https://www.yahoo.com/now/hedge-fund-melvin-capital-closed-130501104.html
                                             17
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 18 of 44 PageID 18




      62.    Robinhood failed to provide notice to Plaintiff that it would cancel his

orders of BB and AMC when he placed his market orders. Plaintiff would have taken

advance of other opportunities with his money had he known Robinhood would

cancel his market orders.

      63.    Robinhood’s cancelation of Plaintiff’s BB and AMC market orders

were part of Robinhood’s knowing scheme to collude and enter into agreements with

John Doe Defendants to manipulate the price of 13 stocks, including BB, AMC,

American Airlines, Express, Naked Brand Group, Tootsie, Castor, Trivago, Sundial,

Nokia, Bed Bath & Beyond, and Koss, by limiting Robinhood’s users to only be able

to sell those stocks, but not buy them. While its customers were limited to only

selling those 13 companies’ stocks, John Doe Defendants and other hedge funds

were able to buy and sell during this prime buying opportunities.

      64.    Robinhood misrepresented to Plaintiff and its customers the reason for

why those 13 companies’ stocks were not available for purchase. Robinhood blamed

it on volatility, however Bitcoin and Tesla have experienced unprecedented growth

recently and Robinhood never took the unprecedented move of restricting users from

buying shares, only permitting them to sell. Thus, it was unfair and deceptive for

Robinhood to (a) unilaterally cancel Plaintiff’s orders, (b) limit Robinhood

customers to only be able to sell their shares, and not buy more shares, (c) not permit

Robinhood customers to purchase shares of 13 companies’ stocks at all.


                                          18
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 19 of 44 PageID 19




      65.     Robinhood’s actions, misrepresentations, and agreements on or around

January 28, 2021 were intended to benefit its relationship with John Doe Defendants

1-10, at the expense of Plaintiff and Class members.

      66.     Robinhood Defendants and John Doe Defendants, directly or indirectly,

by use of the means or instrumentalities of interstate commerce or the facilities of a

national securities exchange or the mail, effected, alone or with one or more other

persons, a series of transactions in securities creating actual or apparent active

trading in such securities, or raising or depressing the prices of such securities, for

the purpose of inducing the purchase or sale of such securities by others, including

but not limited to, the Defendants’ acts of engaging in securities transactions that

affected the volume and prices of certain securities for the purpose of inducing the

purchase or sale of such securities by others. Specifically, Robinhood unilaterally

canceled its customers’ orders of 13 companies’ stocks, prohibited Robinhood

customers’ from purchasing 13 companies’ shares, limiting Robinhood customers to

only sell those 13 companies’ shares to benefit the short sale positions of John Doe

Defendants.

      67.     By limiting Plaintiff’s purchase opportunity of AMC and BB, as part of

the 13 manipulated company stocks, Robinhood violated established public policy

intended to regulate financial services to consumers, and because it is immoral,

unethical, oppressive, or unscrupulous and has caused injuries to the Plaintiffs and


                                          19
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 20 of 44 PageID 20




the Class that outweigh any purported benefit. While other stocks in 2020 and 2021

had experienced volatility similar, if not exceeding, the volatility that the 13

companies’ stocks that Robinhood prohibited for sale (for example Tesla),

Robinhood chose to limit the ability to purchase these stocks because of John Does’

short sale interests in these 13 companies’ stocks. The utility of Robinhood’s

conduct in failing to maintain and implement adequate infrastructure and by

breaching its duties and obligations to Plaintiffs and Class members is far

outweighed by the gravity of harm to consumers who have now incurred losses and

damages they would not have otherwise had Robinhood not decided to collude with

John Doe Defendants and prevent Plaintiff and Class members from purchasing

stocks.

      68.    By restricting Plaintiff’s and Class members’ purchase ability of BB

and AMC (part of the 13 companies Robinhood knowingly selected to prohibit

purchasing) Robinhood failed to perform under the contracts entirely, and by, among

other things, manipulating the stock price of certain stocks by limiting Plaintiff’s and

Class members’ ability to purchase stocks and options; maintain a reliably

functioning electronic trading platform with sufficient operating capability and

adequate infrastructure to process customer transactions, including during volatile

and high-volume trading sessions; by failing to adequately design, test, and monitor

its infrastructure necessary to timely process customers’ transactions; by failing to


                                          20
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 21 of 44 PageID 21




provide timely access to trading services for certain securities such as GameStop,

AMC, and American Airlines on January 28, 2021; by failing to timely process

securities trades, including taking orders, entering orders, and executing orders; by

failing to keep records of trades (including attempted trades); by failing to provide

timely access to customers’ accounts, securities and funds; by failing to have a

supervisory control system that would have identified and prevented limiting

customers’ ability to buy and/or sell stocks, by failing to have adequate business

contingency and continuity plans to ensure timely service in the event of high short

sold stocks having investors purchase large amounts of it; by failing to have any

backup plans to receive and process customers’ orders during high volume trading

sessions; by having no adequate means for customers to get assistance when they

were not able to access their account and/or buy and sell securities; by failing to

comply with applicable legal regulatory requirements and industry standards of care,

including those set by FINRA and its predecessor authorities; and by making

unauthorized transactions on customers’ accounts.

      69.    Additionally, Robinhood and John Doe Defendants, directly or

indirectly, alone or in concert with others, acting intentionally, knowingly or

recklessly, in connection with the purchase or sale of securities, by use of the means

or instrumentalities of interstate commerce or the facilities of a national securities

exchange or the mail: (a) employed devices, schemes, or artifices to defraud Plaintiff


                                          21
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 22 of 44 PageID 22




and Class members, and (b) engaged in acts, practices, or courses of business which

operated or would operate as fraud or deceit upon Plaintiff and Class members by

unilaterally canceling its customers’ orders of 13 companies’ stocks, prohibiting

Robinhood customers from purchasing 13 companies’ shares, limiting Robinhood

customers to only sell those 13 companies’ shares to benefit the short sale positions

of John Doe Defendants.

      70.    As a provider of financial services and registered securities investment

broker-dealer, Robinhood had a fiduciary duty to exercise reasonable care, skill, and

ability in conducting and facilitating financial services and transactions for its

customers. As a broker-dealer, Robinhood provides securities trading services by

taking, entering, and executing orders, provides information and advice to customers

on investments and investment strategies (although it disclaims doing so), and even

executes transactions within their accounts when not specifically requested by

investors.

      71.    Robinhood breached its fiduciary duties to Plaintiff and Class members

by, among other things, failing to maintain a reliably functioning electronic trading

platform with sufficient operating capability and adequate infrastructure to process

customer transactions, including during volatile and high-volume trading sessions;

by limiting its customers’ ability to buy and sell certain securities that Robinhood

purposefully singled out, by failing to adequately design, test, and monitor its


                                         22
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 23 of 44 PageID 23




infrastructure necessary to timely process customers’ transactions; by failing to

timely process securities trades, including taking orders, entering orders, and

executing orders; by failing to keep records of trades (including attempted trades);

by failing to provide timely access to customers’ accounts, securities and funds; by

failing to have adequate business contingency and continuity plans to ensure timely

service in the event of high volume trading; by failing to comply with applicable

legal regulatory requirements and industry standards of care, including those set by

FINRA and its predecessor authorities; and by making unauthorized transactions on

customers’ accounts.

       72.     As a provider of financial services and registered securities investment

broker-dealer, Robinhood had a fiduciary duty to exercise reasonable care, skill, and

ability in conducting and facilitating financial services and transactions for its

customers. Its actions failed its duty owed to its customers.

                           CLASS ACTION ALLEGATIONS

       73.     Plaintiff brings this class action on behalf of himself and all other

persons similarly situated pursuant to Federal Rule of Civil Procedure 23. The

proposed class (the “Class”) is defined as follows:

               All Robinhood customers within the United States.28


28
  The “Class Period” for each claim is provisionally intended to be the respective statute of
limitations for each claim, with Plaintiff reserving the right to invoke the equitable tolling
doctrine based on the discovery rule or other bases as discovery and the case progresses
                                                23
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 24 of 44 PageID 24




         74.   Additionally, or in the alternative, Plaintiffs may also bring claims

pursuant to Federal Rule of Civil Procedure 23 on behalf of the following Subclass:

               All Robinhood customers within the United States who had

               market orders cancelled by Robinhood for the following 13

               companies: GameStop, American Airlines, BlackBerry, Bed

               Bath & Beyond, Nokia, Koss, AMC, Sundial, Trivago, Castor,

               Naked Brand Group, Tootsie.

         75.   Expressly excluded from the Class are: (a) any Judge or Magistrate

presiding over this action and members of their families; (b) Defendants and any

entity in which Defendants have a controlling interest, or which has a controlling

interest in Defendants, and its legal representatives, assigns and successors; and (c)

all persons who properly execute and file a timely request for exclusion from the

Class.

         76.   Plaintiff reserves the right to amend the Class definitions if further

investigation and discovery indicates that the Class definitions should be narrowed,

expanded, or otherwise modified.

                          Numerosity and Ascertainability

         77.   The precise number of members of the proposed Class is unknown to

Plaintiff at this time, but, based on information and belief, Class members are so

numerous that their individual joinder herein is impracticable. Based on information


                                          24
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 25 of 44 PageID 25




and belief and publicly available reports, Class members number in the hundreds of

thousands and likely are many million. Subclass members are likely in the tens or

hundreds of thousands. All Class members may be notified of the pendency of this

action by reference to Robinhood’s records, publication notice, or by other

alternative means.

                                       Commonality

      78.    Numerous questions of law or fact are common to the claims of Plaintiff

and members of the proposed Class. These common questions of law and fact exist

as to all Class members and predominate over questions affecting only individual

Class members. These common legal and factual questions include, but are not

limited to the following:

             (a)     Why Robinhood restricted trading for only 13 companies’

                     stocks;

             (b)     Whether Robinhood complied with its legal, regulatory, and

                     licensing requirements;

             (c)     Whether Robinhood’s conduct is governed by California law;

             (d)     Whether Robinhood and John Doe Defendants violated Federal

                     antitrust laws;

             (e)     Whether Robinhood and John Doe Defendants violated Federal

                     securities laws;


                                           25
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 26 of 44 PageID 26




             (f)   Whether Robinhood breached its contract with its customers;

             (g)   Whether Robinhood’s conduct was negligent;

             (h)   Whether Robinhood breached its fiduciary duties to Plaintiff and

                   Class members;

             (i)   Whether Robinhood breached (and continues to breach) its

                   contracts with Robinhood customers and/or the implied covenant

                   of good faith and fair dealing;

             (j)   Whether Robinhood’s conduct violates California Unfair

                   Competition Law, Bus. & Prof. Code Section 17200, et seq.;

             (k)   Whether Plaintiff and Class members were injured by

                   Robinhood’s conduct, and if so, the appropriate measure of

                   damages.

             (l)   Whether Plaintiff and Class members are entitled to injunctive

                   relief.

                                     Typicality

      79.    Plaintiff’s claims are typical of the claims of the other members of the

Class. Robinhood Defendants’ and John Doe Defendants’ conduct has caused

Plaintiff and members of the Class to sustain the same or substantially similar

injuries and damages. Plaintiff has no interests antagonistic to the interests of the

other members of the Class. Plaintiff and all members of the Class have sustained


                                         26
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 27 of 44 PageID 27




economic injury, including ascertainable loss and injury in fact, arising out of

Robinhood Defendants’ and John Doe Defendants’ violations of law as alleged

herein.

                             Adequate Representation

      80.    Plaintiff will fairly and adequately represent and protect the interests of

the members of the Class. Plaintiff is a member of the Class and does not have any

conflict of interest with other Class members. Plaintiff has retained and is

represented by competent counsel who are experienced in complex class action

litigation, and consumer class actions such as the present action.

      81.    Plaintiff and his counsel are committed to vigorously prosecuting the

action on behalf of the Class and have the financial resources to do so. Neither

Plaintiff nor his counsel have interests adverse to those of the Class.

                          Predominance and Superiority

      82.     The common questions of law and fact set forth herein predominate

over any questions affecting only individual Class members. A class action provides

a fair and efficient method for the adjudication of this controversy for the following

reasons which is superior to the alternative methods involved in individual litigation:

      (a)    The Class is so numerous as to make joinder impracticable. However,

      the Class is not so numerous as to create manageability problems. There are

      no unusual legal or factual issues that would create manageability problems.


                                          27
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 28 of 44 PageID 28




       Prosecution of separate actions by individual members of the Class would

       create a risk of inconsistent and varying adjudications against Robinhood

       Defendants and John Doe Defendants when confronted with incompatible

       standards of conduct;

       (b)    Adjudications with respect to individual members of the Class could,

       as a practical matter, be dispositive of any interest of other members not

       parties to such adjudications, or substantially impair their ability to protect

       their interests; and

       (c)    Despite the costly nature of the repair costs suffered by Plaintiff and

       Class members, the claims of the individual Class members are, nevertheless,

       small in relation to the expenses of individual litigation, making a Class action

       the only procedural method of redress in which Class members can, as a

       practical matter, recover.

                              FIRST CAUSE OF ACTION

                     VIOLATION FO THE SHERMAN ACT
                               15 U.S.C. § 1
                           Against All Defendants

       83.    Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       84.    In violation of Section 1 of the Sherman Antitrust Act, Defendants and

John Doe Co-conspirators agreed to manipulate Robinhood’s customers’ ability to


                                            28
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 29 of 44 PageID 29




buy and sell securities on January 28, 2021.

      85.    These anticompetitive agreements have an open and obvious adverse

effect on competition. They ensured that hedge funds faced no competition in the

price of certain stocks and permitted John Doe hedge funds to recoup monies lost

from Robinhood customer’s purchasing stocks that John Doe hedge funds had large

short sale positions in. By preventing Robinhood’s customers to purchase the stocks

on January 28, 2020, but only permitting them to sell, while John Doe hedge funds

were permitted to buy and sell the entire time, Defendants decreased the market price

of GameStop, AMC, American Airlines, NOK, and other stocks.

      86.    Defendants and their Co-conspirators’ anticompetitive agreements

have actual detrimental effects, i.e., less competitive stock prices and unfair playing

field between individual investors and institutional funds.

      87.    An observer with even a rudimentary understanding of economics

could conclude that the arrangements in question would have an anticompetitive

effect on customers and markets.

      88.    Defendants and their Co-conspirators did not act unilaterally or

independently, or in their own economic interests, when entering into these

agreements, which substantially, unreasonably, and unduly restrain trade in the

relevant market, and harmed Plaintiff and the Class thereby.

      89.    There is no legitimate, pro-competitive business justification for


                                          29
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 30 of 44 PageID 30




Defendants’ anticompetitive agreements or any justification that outweighs their

harmful effect. Even if there were some conceivable justification, the agreements

are broader than necessary to achieve such a purpose.

       90.    Plaintiff and Class members have been injured and will continue to be

injured in their businesses and property by not being able to recoup losses incurred

by the Agreements and cannot purchase stock or short positions at the price that was

available on January 28, 2020 when buying was restricted. Plaintiffs and the Class

are entitled to an injunction that terminates the ongoing violations alleged in this

Complaint and to recover three times the amount of their overcharge damages

directly caused by Defendant’s unreasonable restraint of trade.

                          SECOND CAUSE OF ACTION

             FRAUD IN CONNECTION WITH THE PURCHASE OR
                            SALE OF SECURITIES
               Violation of Section 10(b) of the Exchange Act and
                        Rule 10b-5(a) and (c) thereunder
                             Against All Defendants

       91.    Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       92.    By reasons of the conduct described above, the Defendants, directly or

indirectly, alone or in concert with others, acting intentionally, knowingly or

recklessly, in connection with the purchase or sale of securities, by use of the means

or instrumentalities of interstate commerce or the facilities of a national securities


                                            30
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 31 of 44 PageID 31




exchange or the mail: (a) employed devices, schemes, or artifices to defraud Plaintiff

and Class members, and (b) engaged in acts, practices, or courses of business which

operated or would operate as fraud or deceit upon Plaintiff and Class members.

       93.    The Defendants acted knowingly or recklessly.

       94.    By reason of the foregoing, the Defendants violated and unless

enjoined, will again violate, Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]

and Rule 10b-5 [17 C.F.R. § 240.10b-5] thereunder.

       95.    Accordingly, pursuant to Section 20(e) of the Exchange Act [15 U.S.C.

§ 78t(e)], the Defendants are liable for each others’ violations of Section 10(b) of

the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 [17 C.F.R. § 240.10b-5]

thereunder.

       96.    As a proximate and direct result of Defendants’ violations of the

Exchange Act and Rule 10b-5, Plaintiff and Class members suffered actual damages.

       97.    Plaintiff and Class members seek attorney fees and costs.

                            THIRD CAUSE OF ACTION

              FRAUD IN THE OFFER OR SALE OF SECURITIES
                Violation of Securities Act Section 17(a)(1) and (3)
                              Against All Defendants

       98.    Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       99.    By engaging in the conduct described above, the Defendants, in the


                                            31
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 32 of 44 PageID 32




offer or sale of securities, acting with the requisite degree of scienter, by the use of

means or instruments of transportation or communication in interstate commerce or

by the use of the mails, directly or indirectly, alone or in concert with others: (a)

knowingly or recklessly, employed devices, schemes or artifices to defraud; and (b)

with negligence, engaged in transactions, practices or courses of business which

operated or would have operated as a fraud or deceit upon purchasers.

      100. The Defendants acted knowingly, recklessly, or negligently.

      101. By reason of the foregoing, the Defendants have violated and, unless

enjoined, will continue to violate Section 17(a) of the Securities Act [15 U.S.C.

§77q(a)].

      102. By reason of the conduct described above, the Defendants, acting

knowingly or recklessly, provided substantial assistance to, and thereby aided and

abetted, each other’s violations of Section 17(a) of the Securities Act [15 U.S.C.

§77q(a)].

      103. Accordingly, pursuant to Section 15(b) of the Securities Act [15 U.S.C.

§ 77o(b)], the Defendants are liable for each other’s violations of Section 17(a) of

the Securities Act [15 U.S.C. §77q(a)].

      104. As a proximate and direct result of Defendants’ violations of Section

17(a) of the Securities Act [15 U.S.C. §77q(a)], Plaintiff and Class members suffered

actual damages.


                                          32
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 33 of 44 PageID 33




       105. Plaintiff and Class members seek attorney fees and costs.

                          FOURTH CAUSE OF ACTION

                          MARKET MANIPULATION
                     Violation of Exchange Act Section 9(a)(2)
                              Against All Defendants

       106. Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       107. By engaging in the conduct described above, the Defendants, directly

or indirectly, by use of the means or instrumentalities of interstate commerce or the

facilities of a national securities exchange or the mail, effected, alone or with one or

more other persons, a series of transactions in securities creating actual or apparent

active trading in such securities, or raising or depressing the prices of such securities,

for the purpose of inducing the purchase or sale of such securities by others,

including but not limited to, the Defendants’ acts of engaging in securities

transactions that affected the volume and prices of certain securities for the purpose

of inducing the purchase or sale of such securities by others.

       108. The Defendants acted with the intent to induce trading by others.

       109. By reason of the foregoing, the Defendants have violated and, unless

enjoined, will continue to violate Section 9(a)(2) of the Exchange Act [15 U.S.C.

§78i(a)(2)].

       110. By reason of the conduct described above, the Defendants, acting


                                            33
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 34 of 44 PageID 34




knowingly or recklessly, provided substantial assistance to, and thereby aided and

abetted, each other’s violations of Section 9(a)(2) of the Exchange Act [15 U.S.C.

§78i(a)(2)].

       111. Accordingly, pursuant to Section 20(e) of the Exchange Act [15 U.S.C.

§ 78t(e)], the Defendants are liable for each other’s violations of Section 9(a)(2) of

the Exchange Act [15 U.S.C. §78i(a)(2)].

       112. As proximate and direct result of Defendants’ violations of Section

17(a) of the Securities Act [15 U.S.C. §77q(a)], Plaintiff and Class members suffered

actual damages.

       113. Plaintiff and Class members seek attorney fees and costs.

                            FIFTH CAUSE OF ACTION

                             Breach of Contract
  Against solely Defendants Robinhood Financial and Robinhood Securities

       114. Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       115. In order to use the Robinhood trading platform, a potential customer

must enter into the Customer Agreement with Robinhood. The operative Customer

Agreement at the time of the Robinhood’s breach is attached as Exhibit A. The

Agreement mandates that Robinhood’s accounts and trading activities will be

subject to all applicable state and federal laws and regulations, including those set

by self-regulatory organizations. See id. Each Customer Agreement also selects
                                            34
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 35 of 44 PageID 35




California choice of law to apply. Id. Each of these standardized agreements are

contracts of adhesion that are imposed on Robinhood’s customers as conditions of

use and are not subject to negotiation.

      116. Robinhood furnished consideration to Plaintiff and Class members in

the form of access to Robinhood’s online trading platform, enabling them to trade

securities and options listed on U.S. securities exchanges. In exchange, Robinhood

received consideration from Plaintiff and Class members including, but not limited

to, order flow data, which it sold to market makers to generate revenue, interest

generated on cash balances in accounts, commissions and fees based on trades

placed, interest on margin extensions, and fees for Gold Membership access.

      117. Robinhood breached its contracts with customers by failing to perform

under the contracts entirely, and by, among other things, manipulating the stock

price of certain stocks by limiting Plaintiff’s and Class members’ ability to purchase

stocks and options; maintain a reliably functioning electronic trading platform with

sufficient operating capability and adequate infrastructure to process customer

transactions, including during volatile and high-volume trading sessions; by failing

to adequately design, test, and monitor its infrastructure necessary to timely process

customers’ transactions; by failing to provide timely access to trading services for

certain securities such as GameStop, AMC, and American Airlines on January 28,

2021; by failing to timely process securities trades, including taking orders, entering


                                          35
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 36 of 44 PageID 36




orders, and executing orders; by failing to keep records of trades (including

attempted trades); by failing to provide timely access to customers’ accounts,

securities and funds; by failing to have a supervisory control system that would have

identified and prevented limiting customers’ ability to buy and/or sell stocks, by

failing to have adequate business contingency and continuity plans to ensure timely

service in the event of high short sold stocks having investors purchase large

amounts of it; by failing to have any backup plans to receive and process customers’

orders during high volume trading sessions; by having no adequate means for

customers to get assistance when they were not able to access their account and/or

buy and sell securities; by failing to comply with applicable legal regulatory

requirements and industry standards of care, including those set by FINRA and its

predecessor authorities; and by making unauthorized transactions on customers’

accounts.

      118. Robinhood’s failure to perform and its breaches of the Customer

Agreement and applicable contracts resulted in damages and losses to Plaintiff and

Class members and continues to expose them to harm because Robinhood continues

to fail to perform under the Customer Agreement. These losses reflect damages to

Plaintiff and Class members in an amount to be determined at trial.

      119. Additionally, because damages may not be a full and complete remedy

due to the ongoing nature of the relationship between the parties and the continuing


                                         36
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 37 of 44 PageID 37




risk of future harm, Plaintiff and Class members seek specific performance of the

contracts to ensure Robinhood has sufficient infrastructure to manage their accounts

and trading activity in the future.

                            SIXTH CAUSE OF ACTION

 Violation of California Unfair Competition Law, Cal. Bus. & Prof. Code §§
                                17200, et seq.
                           Against All Defendants

       120. Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       121. Robinhood has engaged in unfair competition within the meaning of

California Business & Professions Code section 17200, et seq., because

Robinhood’s conduct is unlawful and unfair as herein alleged.

       122. Plaintiff, the members of the Class, and Robinhood are a “person” or

“persons,” within the meaning of Section 17201 of the California Unfair

Competition Law (“UCL”).

       123. The UCL prohibits any unlawful and unfair business practices or acts.

Robinhood’s conduct, as alleged herein, constitutes an unlawful and unfair business

practice that occurred in connection with the provision of its financial and

investment broker services.

       124. Unlawful prong: Robinhood’s conduct, as described within, violated

the UCL’s unlawful prong because it: (1) violated federal securities laws (2)


                                            37
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 38 of 44 PageID 38




constitutes a breach of contract, and (3) advanced anticompetitive agendas that

manipulated and limited consumers ability to buy and sell their securities.

      125. Unfair prong: Robinhood’s conduct, as described within, violated the

UCL’s unfair prong because its conduct violates established public policy intended

to regulate financial services to consumers, and because it is immoral, unethical,

oppressive, or unscrupulous and has caused injuries to the Plaintiff and the Class

that outweigh any purported benefit. The utility of Robinhood’s conduct in failing

to maintain and implement adequate infrastructure and by breaching its duties and

obligations to Plaintiff and Class members is far outweighed by the gravity of harm

to consumers who have now incurred losses and damages they would not have

otherwise.

      126. Plaintiff and Class members possess standing to pursue this claim

because Plaintiff has been injured by virtue of suffering a loss of money and/or

property as a result of the wrongful conduct alleged herein.

      127. The UCL is, by its express terms, a cumulative remedy, such that

remedies under its provisions can be awarded in addition to those provided under

separate statutory schemes and/or common law remedies, such as those alleged in

the other Counts of this Complaint. See Cal. Bus. & Prof. Code § 17205.

      128. As a direct and proximate cause of Robinhood’s conduct, which

constitutes unlawful and unfair business practices, as herein alleged, Plaintiffs and


                                         38
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 39 of 44 PageID 39




Class members have been damaged and suffered ascertainable losses, thereby

entitling them to recover restitution and equitable relief, including disgorgement or

ill-gotten gains, refunds of moneys, interest, reasonable attorneys’ fees, filing fees,

and the costs of prosecuting this class action, as well as any and all other relief that

may be available at law or equity. Additionally, because Plaintiff and Class members

continue to have accounts and investments with Robinhood and intend to use

Robinhood’s services in the future, injunctive relief is warranted.

                          SEVENTH CAUSE OF ACTION

                                     Negligence
                                Against All Defendants

       129. Plaintiff repeats and re-allege each and every allegation in paragraphs

1 to 82 above, as if set forth herein in full.

       130. As a provider of financial services and registered securities investment

broker-dealer, Robinhood had a duty to exercise reasonable care, skill, and ability in

conducting and facilitating financial services and transactions for its customers.

       131. Robinhood unlawfully breached its duties by, among other things,

failing to maintain a reliably functioning electronic trading platform with sufficient

operating capability and adequate infrastructure to process customer transactions,

including during volatile and high-volume trading sessions; by limiting its

customers’ ability to buy and sell certain securities that Robinhood purposefully

singled out, by failing to adequately design, test, and monitor its infrastructure
                                            39
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 40 of 44 PageID 40




necessary to timely process customers’ transactions; by failing to timely process

securities trades, including taking orders, entering orders, and executing orders; by

failing to keep records of trades (including attempted trades); by failing to provide

timely access to customers’ accounts, securities and funds; by failing to have

adequate business contingency and continuity plans to ensure timely service in the

event of high volume trading; by failing to comply with applicable legal regulatory

requirements and industry standards of care, including those set by FINRA and its

predecessor authorities; and by making unauthorized transactions on customers’

accounts.

      132. As set forth below, Robinhood’s conduct was so want of even scant

care that its acts and omissions were and continue to be an extreme departure from

the ordinary standard of conduct, rendering Robinhood not just negligent, but

grossly negligent.

      133. Robinhood’s negligence and breaches of its duties owed to Plaintiff and

Class members proximately caused losses and damages that would not have

occurred but for Robinhood’s breach of its duty of due care. These losses reflect

damages to Plaintiff and Class members in an amount to be determined at trial.

                          EIGTH CAUSE OF ACTION

                                  Negligence
                             Against All Defendants

      134. Plaintiff repeats and re-allege each and every allegation in paragraphs
                                         40
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 41 of 44 PageID 41




1 to 82 above, as if set forth herein in full.

       135. As a provider of financial services and a registered securities

investment broker-dealer, at all times relevant herein Robinhood was a fiduciary to

Plaintiff and Class members and owed them the highest good faith and integrity in

performing its financial services and acting as a securities broker-dealer on their

behalf. As a broker-dealer, Robinhood provides securities trading services by taking,

entering, and executing orders, provides information and advice to customers on

investments and investment strategies (although it disclaims doing so), and even

executes transactions within their accounts when not specifically requested by

investors.

       136. Robinhood breached its fiduciary duties to Plaintiff and Class members

by, among other things, failing to maintain a reliably functioning electronic trading

platform with sufficient operating capability and adequate infrastructure to process

customer transactions, including during volatile and high-volume trading sessions;

by limiting its customers’ ability to buy and sell certain securities that Robinhood

purposefully singled out, by failing to adequately design, test, and monitor its

infrastructure necessary to timely process customers’ transactions; by failing to

timely process securities trades, including taking orders, entering orders, and

executing orders; by failing to keep records of trades (including attempted trades);

by failing to provide timely access to customers’ accounts, securities and funds; by


                                            41
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 42 of 44 PageID 42




failing to have adequate business contingency and continuity plans to ensure timely

service in the event of high volume trading; by failing to comply with applicable

legal regulatory requirements and industry standards of care, including those set by

FINRA and its predecessor authorities; and by making unauthorized transactions on

customers’ accounts.

      137. Robinhood’s conduct has caused Plaintiff and Class members harm,

losses, and damages and continues to expose them to harm because Robinhood

continues to breach its fiduciary duties. These losses reflect damages to Plaintiff and

Class members in an amount to be determined at trial.

      WHEREFORE, Plaintiff prays for relief as set forth below.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff and the Class and Subclass members pray for

judgment against Robinhood Defendants and John Doe Defendants’ as follows:

      A.     That the Court determine that this action may be litigated as a class

             action and that Plaintiff and his counsel be appointed class

             representative and class counsel, respectively;

      B.     That the Court enter judgment against Defendants and in favor of

             Plaintiff and the class on all counts;

      C.     That Defendants be required by this Court’s Order to compensate all

             members of the Class for their damages and injuries, as well as to


                                          42
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 43 of 44 PageID 43




            compensate Plaintiff’s counsel for their attorneys’ fees and costs of suit,

            and that Defendants be ordered to bear the cost of notice to the absent

            Class members, as well as the administration of this common fund;

      D.    That damages and/or restitution or disgorgement be awarded to

            Plaintiff and each Class member according to proof;

      E.    That the Court award injunctive and declaratory relief as pled or as the

            Court may deem proper;

      F.    That the Court award interest as allowable by law;

      G.    That the Court award reasonable attorneys’ fees as provided by

            applicable law;

      H.    That the Court award all costs of suit; and

      I.    That Plaintiff and the Class members be awarded all such other relief

            as this Court deems just and proper.

                         DEMAND FOR JURY TRIAL
      Plaintiff hereby demands a trial by jury on all claims so triable.
      Respectfully submitted this 29th day of January, 2021.

                                      VARNELL & WARWICK, P.A.

                                       BY:/S/ JANET R. VARNELL
                                       Janet R. Varnell; FBN: 0071072
                                       Brian W. Warwick; FBN: 0605573
                                       Matthew T. Peterson, FBN: 1020720
                                       Erika Willis, FBN: 100021
                                       1101 E. Cumberland Ave., Suite 201H, #105
                                       Tampa, Florida 33602
                                         43
Case 6:21-cv-00207-WWB-DCI Document 1 Filed 01/29/21 Page 44 of 44 PageID 44




                                   Telephone: (352) 753-8600
                                   Facsimile: (352) 504-3301
                                   jvarnell@varnellandwarwick.com
                                   bwarwick@varnellandwarwick.com
                                   mpeterson@varnellandwarwick.com
                                   ewillis@varnellandwarwick.com
                                   kstroly@varnellandwarwick.com

                                   Attorneys for Plaintiff and the Class




                                     44
